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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                               Criminal Action No. 1:21-cr-00670 (CJN)

STEPHEN K. BANNON,

              Defendant.


                                              ORDER

       This matter is before the Court on two of Defendant’s Motions, which were made or

renewed during the trial in this matter. The first is Defendant’s Motion for Judgment of Acquittal,

which was also memorialized in a filing on July 21, 2022, see ECF No. 125. The second is

Defendant’s renewed Motion to Dismiss the Case, see Mot. to Dismiss the Case, ECF No. 116,

which the Court had previously denied without prejudice to its being renewed after

the government had rested its case-in-chief. See Trans. of July 19, 2022 (p.m.) at 64:12–21

(denying the Motion without prejudice to subsequent renewal at trial); Trans. of July 21, 2022

(a.m.) at 28:9–11 (acknowledging the Motion had been renewed).

       Accordingly, it is

       ORDERED that the Motion for Judgment of Acquittal, ECF No. 125, is DENIED. The

Court concludes that the evidence presented in the government’s case was sufficient to sustain a

conviction. The only reason the Court did not make this ruling on the record at the time the Motion

was made orally was the Court’s concern about the risk of potential jury bias, as the Court

articulated on the record. See, e.g., Trans. of July 21, 2022 (a.m.) at 27:23–28:8.

       As to the Defendant’s renewed Motion to Dismiss the Case, however, the Court believes

that it would benefit from further briefing. It is thus further


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       ORDERED that on or before August 5, 2022, the Defendant shall file a brief of no more

than 15 pages in further support of his renewed Motion to Dismiss the Case. The government may

file a response, also not to exceed 15 pages, on or before August 12, 2022. A reply, if any, shall

be filed on or before August 19, 2022, and shall not exceed 7 pages.

       IT IS SO ORDERED.


DATE: July 27, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge




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